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                                     MOVANTS STONEX GROUP, INC.
                                     AND STONEX FINANCIAL, INC.


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                  IT IS SO ORDERED at Bridgeport, Connecticut this 25th day of September, 2023.
